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 6
                                     IN THE UNITED STATES DISTRICT COURT
 7
                                                DISTRICT OF NEVADA
 8
         REFLEX MEDIA,             INC.,    a    Nevada Case No. 2:18-cv-02423-RFB-BNW
 9       Corporation,
                                                           JOINT NOTICE REGARDING PLAINTIFF’S
10              Plaintiff,                                 EFFORTS TO IDENTIFY THE POSTER OF
                                                           DEFAMATORY MATERIALS
11       v.
12       AARON WALLACE, an individual, et al.,
13              Defendants.
14             Plaintiff Reflex Media, Inc. (“Reflex Media”), hereby gives notice to the Court regarding efforts
15   it has undertaken to identify the person or persons responsible for generating certain defamatory material
16   (“the Poster”) related to undersigned counsel. A description of the defamatory material was previously
17   submitted and sealed by the Court. (See ECF No. 136.)
18             On April 30, 2019, the Court granted Reflex Media’s request to undertake certain third-party
19   discovery directed to identify the Poster. Thereafter, Reflex Media sent third-party subpoenas to the
20   hosting providers of the websites where the scandalous material was published in an effort to obtain either
21   (a) the identity of the Poster himself, or (b) the identity of the website owners1 so Plaintiffs could send
22   further third-party subpoenas to them for information related to the identity of the Poster. The hosting
23   companies responded to those subpoenas on May 28th and 29th. Unfortunately, the information provided
24   does not contain the identity of the owners of the website.
25             The information received, albeit minimal, may still be helpful in locating the owners of the subject
26   websites. Accordingly, Plaintiffs have hired a private investigator who is currently working to discover
27   their identities. If this private investigator can identify the owners of those websites, Reflex Media plans
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         The identity of the websites’ owners is not apparent from the websites themselves.

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 1   to send third-party subpoenas to them regarding the identity of the person(s) responsible for publishing

 2   the defamatory materials on their website. Based on past experience, the undersigned anticipates that the

 3   owners of the website will be able to produce the IP address associated with the postings, and that they

 4   will then need to subpoena the internet service providers associated with those IP addresses in order to

 5   ascertain the identity of the responsible person(s). Reflex Media proposes to provide the Court with

 6   another update in 45 days from the date of this report.

 7          During the April 30, 2019, hearing, the Court also directed counsel to provide a report on the status

 8   of service on Defendant Arman Ali. A motion requesting leave to serve Mr. Ali by alternative means was

 9   filed on May 10, 2019, and is awaiting a decision from the Court.
10
     DATED: July 1, 2019                                  SMITH WASHBURN, LLP
11
                                                                 /s/ Mark L. Smith
12                                                        Mark L. Smith
                                                          Attorneys for Reflex Media, Inc.
13

14
     Approved As to Form with No Opinion As to Content:
15

16
             /s/ James D. Boyle                                    /s/ Michelle L. Mozdzen
17
      James D. Boyle, Esq.                                 Jean J. Schwartzer
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 1                                       CERTIFICATE OF SERVICE

 2           I hereby certify that on July 1, 2019, the foregoing JOINT NOTICE REGARDING

 3   PLAINTIFF’S EFFORTS TO IDENTIFY THE POSTER OF DEFAMATORY MATERIALS was

 4   served on the person(s) named below via CM/ECF:

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